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                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF MONTANA

                                         MISSOULA DIVISION

 Jerrold G. Cooley, et al,                               CV-06-75-M-JVS

                                   Plaintiffs                   ORDER

      vs.

 City of Missoula, et al.,

                                  Defendants

            This case was referred to the undersigned by Order of United States District Court Judge

James V. Selna (Docket No. 120), dated June 28, 2007, for the limited purposes of conducting a

formal settlement conference.

            A settlement conference was held in this matter, on Tuesday, the 24th day of July, 2007.

As a result of the settlement conference, the parties have settled their disputes. Accordingly,

            IT IS ORDERED that on or before August 10, 2007, the respective parties shall file the

appropriate settlement documents with the court, or show cause in writing for their failure to do

so.

            DATED this 25th day of July, 2007.




                                                 /s/ Keith Strong
                                                 Keith Strong
                                                 United States Magistrate Judge



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